                         Case 1:21-cr-00175-TJK Document 857-6 Filed 08/17/23 Page 1 of 2
  From: 654712116 Joe Bigs

  im down
                                                  8/6/2020 5:23:56 PM(UTC-7)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x1A2A2719 (Size: 873086976 bytes)



  From: 792631195 Paul Rae (pb)

  It's the same fucking day as the parade.
                                                  8/6/2020 7:27:43 PM(UTC-7)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x1A2863D7 (Size: 873086976 bytes)



  From: 654712116 Joe Bigs

  Gay
                                                  8/6/2020 7:32:01 PM(UTC-7)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x1A2DFD24 (Size: 873086976 bytes)



  From: 792631195 Paul Rae (pb)
  Attachments:

   Size: 0
   (Empty File)

                                                 8/7/2020 10:56:39 AM(UTC-7)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x1A39A70C (Size: 873086976 bytes)



  From: 777508242 Planet

  very interesting
                                                  8/8/2020 3:42:25 PM(UTC-7)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x1A173511 (Size: 873086976 bytes)



  From: 792631195 Paul Rae (pb)

  About 30+ leftist rioters followed about a dozen supposed Proud Boys as they were making
  their exit. Apparently they fucked around and found out. @ProudBoysUncensored.
  Attachments:

   Size: 0
   (Empty File)

                                                                                             8/9/2020 4:03:16 PM(UTC-7)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30D0-FE61-47D7-84D1-
511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite : 0x1A70A79D (Size: 873086976 bytes)




                                                                                                                                 21CR175_00002697
                                                                                                                                                    14655
                         Case 1:21-cr-00175-TJK Document 857-6 Filed 08/17/23 Page 2 of 2
  From: 792631195 Paul Rae (pb)

  Sounds like you guys had a good time @ChiefPanman
                                                            8/9/2020 4:03:40 PM(UTC-7)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/App
Group/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x1A70DA05 (Size: 873086976 bytes)



                                                                                   From: 573782641 Rufio Panman (owner)

                                                                                   I got bear maced real good, but I put one in the hospital
                                                                                                                                                     8/9/2020 4:39:36 PM(UTC-7)


                                                                                Source Info:
                                                                                e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/2
                                                                                37A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
                                                                                8138281883108468013/postbox/db/db_sqlite : 0x1A70D951 (Size: 873086976 bytes)



  From: 654712116 Joe Bigs

  I got beer maced just now when I dropped a can of beer on my face
                                                                          8/9/2020 4:55:56 PM(UTC-7)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/AppGroup/237A30
D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-8138281883108468013/postbox/db/db_sqlite :
0x1A70A398 (Size: 873086976 bytes)



  From: 581632416 Enrique Florida Pb

  Crisscross hot sauce
                                                  8/9/2020 4:56:45 PM(UTC-7)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x1A70A4DF (Size: 873086976 bytes)



  From: 792631195 Paul Rae (pb)

  I heard you guys left a few bodies on the ground.
                                                            8/9/2020 4:59:45 PM(UTC-7)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/Shared/App
Group/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x1A70A448 (Size: 873086976 bytes)



                                                                                                     From: 573782641 Rufio Panman (owner)
                                                                                                     Attachments:

                                                                                                      Size: 0
                                                                                                      (Empty File)

                                                                                                                                                     8/9/2020 5:02:10 PM(UTC-7)


                                                                                                   Source Info:
                                                                                                   e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
                                                                                                   hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
                                                                                                   8138281883108468013/postbox/db/db_sqlite : 0x1A70AD2B (Size: 873086976 bytes)



  From: 792631195 Paul Rae (pb)

  Time to move to Florida
                                                  8/9/2020 5:04:23 PM(UTC-7)


Source Info:
e577462c3126fd6117148d47ebb1077cdcd3691e_files_full.zip/private/var/mobile/Containers/S
hared/AppGroup/237A30D0-FE61-47D7-84D1-511A2D9881FB/telegram-data/account-
8138281883108468013/postbox/db/db_sqlite : 0x1A70CCB6 (Size: 873086976 bytes)




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